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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK

       JOHN SEALOCK, on behalf of himself, individually,
       and on behalf of all others similarly-situated,

                                                  Plaintiff,
                                                                                     Civil Action No.: 17-cv-5857
                          - against -                                                (JMF)

       COVANCE, INC.,

                                                  Defendant.
   IF YOU RECEIVED THIS FORM AND WANT TO JOIN THIS LAWSUIT, PLEASE
   COMPLETE THESE TWO STEPS:

          1. COMPLETE AND SIGN THIS CONSENT TO JOIN LAWSUIT FORM; AND

          2. USE THE ENCLOSED ENVELOPE TO RETURN THIS FORM TO THE ADDRESS
             BELOW NOT LATER THAN MARCH 18, 2019.
                                                   Ruby J. Krajick
                                                    Clerk of Court
                                             United States District Court
                                            Southern District of New York
                                                   500 Pearl Street
                                             New York, New York 10007
                                             Re: Sealock v. Covance, Inc.
                                                Case No.: 17-cv-5857

          I consent to join the collective action; and I elect to be represented by [choose ONE]:

                 Borrelli & Associates, P.L.L.C.                                Another attorney of my choosing, who shall
                 I authorize Plaintiff John Sealock and                         promptly file a notice of appearance on my
                 Borrelli & Associates, P.L.L.C. to act                         behalf.
                 on my behalf in all matters relating to
                 this action, including any settlement of                       Myself pro se without the assistance of an
                 my claim.                                                      attorney.
If you do not select any of the representation options above but send back your form to Borrelli & Associates, P.L.L.C., you
will automatically be represented by Plaintiff’s lawyers, Borrelli & Associates, P.L.L.C. Moreover, failure to select a
representation option above will authorize John Sealock and Borrelli & Associates, P.L.L.C. to act on your behalf in all
matters relating to this action, including any settlement of your claims.

You are permitted to proceed with alternative counsel of your own choosing at your own expense or to represent yourself pro
se without the assistance of an attorney.

                                                                    Stephen DiLeo
SIGNATURE
 IGNATURE                                                          PRINT NAME


Address                                                            City, State, Zip Code


Telephone Number                                                   Email Address
                                                               5
